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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                            ORLANDO DIVISION

 EMELYN BONILLA,                            Case No.: 6:23-cv-0581

       Plaintiff,
 v.

 EMERGE HEALTHCARE GROUP,
 LLC, a Florida
 Limited Liability Company,

 FCID MEDICAL, INC.
 a Florida Profit Company,

 FIRST CHOICE MEDICAL GROUP
 OF BREVARD, LLC,
 a Delaware Limited Liability
 Company,

 FIRST CHOICE HEALTHCARE
 SOLUTIONS, INC.
 a Delaware Corporation, and

 LANCE FRIEDMAN, individually,

       Defendants.
                                        /

                         DEFENDANTS’ TRIAL BRIEF

      Defendants, EMERGE HEALTHCARE GROUP, LLC (“EMERGE”), FCID

MEDICAL, INC. (“FCID”), FIRST CHOICE MEDICAL GROUP OF BREVARD, LLC

(“FCMG”), FIRST CHOICE HEALTHCARE SOLUTIONS, INC. (“FCHS”), and

LANCE FRIEDMAN, individually (“FRIEDMAN”), by and through their undersigned

attorneys, hereby respond their Trial Brief, and state as follows:
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                           PROCEDURAL HISTORY

      Plaintiff sued Defendants for breach of fiduciary duty (Count I) and violation

of 29 U.S.C. § 1166(a) and 29 C.F.R. § 2590.606-4 (Count II). (Doc. 1). With respect

to Count I, Plaintiff alleges that Defendants – all of whom Plaintiff alleges are plan

fiduciaries – breached their fiduciary duties by: (1) causing Plaintiff’s insurance

policies to lapse or be canceled; (2) withholding insurance premiums from Plaintiff’s

paychecks but not remitting the payments to the insurance companies; (3) not

informing Plaintiff that her policies were canceled; and (4) continuing to make

deductions from Plaintiff’s paychecks. (Doc. 1, ¶¶ 72, 74). With respect to Count II,

Plaintiff alleges that “Defendant failed to send Plaintiff a COBRA notice in violation

of 29 U.S.C. § 1166(a) and 29 C.F.R. § 2590.606-4 for the reasons set forth above

(among other reasons).” (Doc. 1, ¶ 84).

      On November 1, 2023, Plaintiff filed her Motion for Summary Judgment.

(Doc. 33). On April 9, 2024, the Court denied Plaintiff’s Motion for Summary

Judgment. (Doc. No. 47).

                            STATEMENT OF FACTS

                          The Defendant Companies

      FIRST CHOICE HEALTHCARE SOLUTIONS, INC. (“FCHS”) is a holding

company for FIRST CHOICE MEDICAL GROUP OF BREVARD, LLC (“FCMG”) and

FCID MEDICAL, INC. (“FCID”). FCHS wholly owns FCID; FCID wholly owns

FCMG. See Exhibit 1, Declaration of Lance Friedman in Opposition to Plaintiff’s

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Motion for Summary Judgment dated November 1, 2023, ¶ 12.

      FCHS’ former CEO, founder, and principal shareholder, Chris Romandetti,

was charged with securities fraud. See Exhibit 2, Deposition of Lance Friedman

taken on June 13, 2023, at 12:16-20. Prior to “the Chris Romandetti incident,” the

company had $34 to $35 million of revenue which then came down to “a million-

and-a-half dollars with a massive infrastructure.” See Exhibit 2, 12:11-15.

      As a result, FCHS, FCMG, and FCID each filed for Chapter 11 bankruptcy in

2020. The bankruptcy cases, along with the bankruptcy case for non-party Marina

Towers, LLC, were jointly administered for procedural purposes only under Case No.

6:20-bk-3355-LVV. See Exhibit 1, ¶ 15. The bankruptcy plan was confirmed in

February 2021, and FCHS’ bankruptcy case and the jointly administered bankruptcy

cases for FCMG, FCID, and non-party Marina Towers, LLC were closed on April 27,

2022. See Exhibit 1, ¶ 16.

      At times, employees were not paid“because there was no revenue to support

operations at the company and investor capital was not adequate and timely to

continue regular payrolls.” See Exhibit 2, 56:1-4. Gillean Lee, the executive assistant

to the CEO and CFO and director of Human Resources, testified that the reason

employees were not paid their wages is because “[t]he company did not have enough

funds to be able to produce the compensation.” See Exhibit 3, Deposition of Gillean

Lee taken on July 17, 2023, at 9:2-3, 17:13-16. Julie Hardesty, FCHS’ controller,

testified that employees weren’t paid “because the company simply didn’t have the

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money to pay them.” See Exhibit 4, Deposition of Julie Hardesty taken on July 17,

2023, at 10:12-13, 22.

      Issues also arose with the health insurance plans. These issues form the basis

for Plaintiff’s claim for violation of ERISA. FCMG explained the issues with the

Florida Blue insurance plan in its response to Plaintiff’s interrogatories:

      The Florida Blue group plan was fully funded through November 30,
      2021, when Respondent began to lapse on payment, due to financial
      obligations imposed by Federal Bankruptcy court. Respondent
      attempted to negotiate a payment plan with Florida Blue over the next
      four months. However, Florida Blue ultimately cancelled the group
      plan in April, retroactively terminating the policy as of November 30,
      2021. Respondent then attempted to obtain a group plan from United
      Healthcare.

See Exhibit 5, FCMG’s Answers to Interrogatories at 2. During the bankruptcy, the

payments were stayed but the arrearages owed to Florida Blue then became

“significant.” See Exhibit 2, 39:3-6. The Florida Blue plan was canceled because it

wasn’t paid. See Exhibit 4, 45:7-9.

      With respect to the United Healthcare insurance plan, FCMG explained:

      Respondent obtained a group plan with United Healthcare in April
      2022 in conjunction with using a new payroll company (TriNet HR
      Solutions). However, the relationship between TriNet and Respondent
      failed, resulting in the premium never being paid and the policy lapsing
      as if it had never existed. Again, Respondent attempted to work out
      payment plans with United Healthcare. However, the company was
      never able to recover after the court-imposed bankruptcy payments,
      and United Healthcare terminated the policy.

See Exhibit 5 at 3. UnitedHealthcare terminated its agreement “because of our

financial problems.” See Exhibit 2, 39:8-12. Essentially, there was no money to pay

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for the health insurance. See Exhibit 2, 38:12-24.

      Wage deductions went into a general business account for regular operating

expenses. See Exhibit 2, 69:14-18. However, the CFO, Phil Keller, managed the bank

accounts; FRIEDMAN doesn’t “manage any of the finances of the company hands-

on where I move money or do any of those things. I never have from the date of my

appointment as CEO. I don’t do that, never have done it.” See Exhibit 2, 69:23-25,

70:1-2. The deduction was made on the paychecks and the money was kept in the

general operating accounts. See Exhibit 4, 48:12-16.

                             Defendant FRIEDMAN

      FRIEDMAN is the Manager of FCMG and EMERGE, and the CEO of FCID and

FCHS. See Exhibit 1, ¶¶ 6-9. FRIEDMAN is not compensated by either FCHS,

FCMG, FCID, or EMERGE. See Exhibit 1, ¶ 11. FRIEDMAN was brought on to help

the companies get through bankruptcy reorganization. See Exhibit 1, ¶ 17. His

background includes prior work for investment firms and running investment

banking departments for various broker-dealers and firms. See Exhibit 1, ¶ 4.

Currently, he helps troubled companies through reorganization, helps them raise

capital, and tries to resurrect their business plan. See Exhibit 1, ¶ 5.

      Accordingly, as CEO of FCHS, FRIEDMAN’s specific duties are to raise capital,

reorganize the company, and resurrect operations. See Exhibit 1, ¶ 23. His goals are

to list FCHS on a fully reporting nationally-listed exchange, acquire businesses to

help shareholder value, and try to move FCHS forward. See Exhibit 1, ¶ 23. His job

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is to work with investors to obtain funding. See Exhibit 1, ¶ 24.

      FRIEDMAN does not control the operations of FCHS, FCMG, FCID, or

EMERGE, and he does not make decisions on day-to-day matters. See Exhibit 1, ¶¶

19, 20. FRIEDMAN does not control the financials for FCHS, FCMG, FCHS, or

EMERGE and he does not manage any of the finances as far as moving or

transferring money. See Exhibit 1, ¶ 21. He does not maintain the payables and does

not make decisions on what gets paid. See Exhibit 1, ¶ 22. With respect to FCID

specifically, FRIEDMAN does not handle any of the financial aspects of the

corporation and has no knowledge about how revenue is booked, where it is sent, or

how it is collected. See Exhibit 1, ¶ 25. He does not make determinations as to who

is being paid out of what. See Exhibit 1, ¶ 25. FRIEDMAN testified: “I don’t control

the operations to the extent that I make decisions on day-to-day matters. I’m just

providing a vision, and help develop a business plan so that the company can

improve operations and move forward.” See Exhibit 2, 48:2-6.

      FRIEDMAN did not deal with the insurance companies Florida Blue or

UnitedHealthcare. See Exhibit 1, ¶ 33. FRIEDMAN testified that he let his “team

members” “make those determinations. And you know, in this case, I never dealt

with Florida Blue, I never dealt with UnitedHealthcare. And I don’t know any of the

facts and circumstances regarding that, other than high level descriptions that I’ve

been able to provide to you today.” See Exhibit 2, 39:25, 40:2-7.




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   CAUSE OF ACTION FOR BREACH OF FIDUCIARY DUTY UNDER
                          ERISA

      29 U.S.C. § 1132 allows civil actions to be brought by various persons,

including participants, beneficiaries, fiduciaries, or the Secretary. Beneficiaries may

bring civil actions under either subsection (a)(1)(B) or (a)(3).           29 U.S.C. §

1132(a)(1)(B) states that “[a] civil action may be brought ... by a participant or

beneficiary ... to recover benefits due to him under the terms of his plan, to enforce

his rights under the terms of the plan, or to clarify his rights to future benefits under

the terms of the plan[.]” 29 U.S.C. § 1132(a)(1)(B). Additionally, “[a] civil action may

be brought ... by a participant, beneficiary, or fiduciary (A) to enjoin any act or

practice which violates any provision of this subchapter or the terms of the plan, or

(B) to obtain other appropriate equitable relief (I) to redress such violations or (ii)

to enforce any provisions of this subchapter or the terms of the plan[.]” 29 U.S.C. §

1132(a)(3).

      29 U.S.C. § 1109 addresses liability for breach of fiduciary duty. Subsection (a)

states:

      Any person who is a fiduciary with respect to a plan who breaches any
      of the responsibilities, obligations, or duties imposed upon fiduciaries
      by this subchapter shall be personally liable to make good to such plan
      any losses to the plan resulting from each such breach, and to restore
      to such plan any profits of such fiduciary which have been made
      through use of assets of the plan by the fiduciary, and shall be subject
      to such other equitable or remedial relief as the court may deem
      appropriate, including removal of such fiduciary. A fiduciary may also
      be removed for a violation of section 1111 of this title.



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29 U.S.C. § 1109(a).

      To state a claim for breach of fiduciary duty under ERISA, the plaintiff must

plead: (1) that the defendant is a plan fiduciary; (2) that the defendant breached its

fiduciary duty; and (3) that the breach resulted in harm to the plaintiff. See Lopez

v. Embry-Riddle Aeronautical University, Inc., 2023 WL 7129858, *6 (M.D. Fla.

July 12, 2023).

      “In every case charging breach of ERISA fiduciary duty, then, the threshold

question is not whether the actions of some person employed to provide services

under a plan adversely affected a plan beneficiary’s interest, but whether that person

was acting as a fiduciary (that is, was performing a fiduciary function) when taking

the action subject to complaint.” Pegram v. Herdrich, 530 U.S. 211, 226 (2000).

      “ERISA provides that a person can become a fiduciary in one of two ways: 1)

Being a ‘named fiduciary’ in the Plan instrument, 29 U.S.C. § 1102(a)(2); or 2)

exercising discretionary control over the Plan or the management of its assets,

rendering investment advice for a fee, or having any discretionary authority or

responsibility over Plan administration. 29 U.S.C. § 1002(21)(A).” Bacon v. Stiefel

Laboratories, Inc., 677 F.Supp.2d 1331, 1340-41 (S.D. Fla. 2010)

      In order to establish ERISA fiduciary status within the meaning of 29 U.S.C.

§ 1002(21)(A), the plaintiff has to show (1) that the unpaid contributions were plan

assets and (2) that the defendant “exercised authority and control over the

management or disposition of these assets.” In re Luna, 406 F.3d 1192, 1198 (10th

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Cir. 2005).

      “The proper rule, developed by caselaw, is that unpaid employer contributions

are not assets of a fund unless the agreement between the fund and the employer

specifically and clearly declares otherwise.” ITPE Pension Fund v. Hall, 334 F.3d

1011, 1013 (11th Cir. 2003). However, “[b]y regulation and without the requirement

of a particularized agreement, unpaid employee contributions to ERISA funds are

assets of those funds.” Id. at 1013 n.1 (citing 29 C.F.R. § 2510.3-102 (2002)).

 The Decision to Use Limited Funds to Pay Other Business Expenses is
         a Business Decision, Not a Breach of Fiduciary Duty

      In In re Luna, 406 F.3d 1192 (10th Cir. 2005), the Tenth Circuit concluded

that the debtor appellees were not ERISA fiduciaries, thereby affirming the district

court’s ruling that the debt, representing promised but unpaid monthly employer

contributions to various employee-benefit funds, was dischargeable in bankruptcy.

See id. at 1197. The two appellees each owned 50% of Luna Steel Erectors, Inc., a

construction company that employed workers represented by a union, and each

served as the company’s president/secretary/record-keeper and as vice president.

See id.

      The Tenth Circuit recognized that the debtors “were required to make business

decisions with respect to general corporate funds. Such business decisions must not

be confused with fiduciary actions. It is well-established that an ERISA fiduciary can

‘wear two hats,’ meaning an individual can be both an employer and a fiduciary.” Id.



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 at 1207. “Therefore, as the Supreme Court has noted, the ‘threshold question’ in an

 action for breach of fiduciary duty is whether the alleged fiduciary ‘was acting as a

 fiduciary (that is, was performing a fiduciary function) when taking the action

 subject to complaint.’” Id. (quoting Pegram v. Herdrich, 530 U.S. 211, 226 (2000)).

       “Because virtually every business decision an employer makes can have an

 adverse impact on an employee benefit plan, Vanity Corp. v. Howe, 516 U.S. 489,

 527, 116 S.Ct. 1065, 134 L.Ed.2d 130 (1996) (Thomas, J., dissenting), courts must

 ‘examine the conduct at issue to determine whether it constitutes management or

 administration of the plan, giving rise to fiduciary concerns, or merely a business

 decision that has an effect on an ERISA plan not subject to fiduciary duties. COB

 Clearinghouse Corp. v. Aetnz U.S. Healthcare, Inc., 362 F.3d 877, 881 (6th Cir.

 2004) (citation and quotation omitted). This is so even where some of the decisions

 personally benefitted the employer, such as some of the payments made by the Lunas

 to themselves for personal expenses.” In re Luna, 406 F.3d at 1207. The Tenth

 Circuit concluded that the Lunas’ “decision to use their limited funds to pay other

 business expenses rather than to make contributions to the Funds was a business

 decision, not a breach of fiduciary duty.” Id. Although the decision to pay expenses

 rather than make plan contributions had an adverse impact on the employee-benefit

 funds, the Tenth Circuit declined “to impute fiduciary status to the Lunas based on

 this fact alone.” Id. at 1208.




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      Plaintiff’s Count I for Breach of Fiduciary Duty Under ERISA

       Count I of Plaintiff’s Complaint alleges a breach of fiduciary duty under

 ERISA. Plaintiff has identified no plan instrument that identifies FRIEDMAN or any

 of the corporate Defendants as a fiduciary under either health insurance plan.

 Therefore, to prove her claim, Plaintiff must establish that Defendants exercised

 discretionary control over the plan or the management of its assets. See Bacon, 677

 F.Supp.2d at 1340-41.

                    FRIEDMAN is Not an ERISA Fiduciary

       In her Trial Brief, Plaintiff argues that FRIEDMAN was in control of Plan

 assets because “he had authority over the general operating account, which

 contained unsegregated plan assets.” (Doc. No. 49 ¶ 27). Plaintiff further argues

 that FRIEDMAN was involved with the insurance plans by speaking to Florida Blue

 “on behalf of the company,” executing the United Healthcare contract in March

 2022, being involved in discussions with United Healthcare regarding reinstating the

 insurance in summer 2022, negotiating unsuccessfully with United Healthcare, and

 making the decision “not to move forward” when negotiating reinstatement of health

 insurance. (Doc. No. 49 ¶¶ 28-34).

       FRIEDMAN is not an ERISA fiduciary because he did not exercise authority

 and control over the management or disposition of the plan assets, which Plaintiff

 contends are the employee payroll deductions. See In re Luna, 406 F.3d at 1198.

 FRIEDMAN, however, does not make decisions on day-to-day matters. See Exhibit

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 1, ¶¶ 19, 20. He does not control the financials for FCHS, FCMG, FCHS, or EMERGE

 and he does not manage any of the finances as far as moving or transferring money.

 See Exhibit 1, ¶ 21. He does not maintain the payables and does not make decisions

 on what gets paid.      See Exhibit 1, ¶ 22.      Significantly, he does not make

 determinations as to who is being paid out of what. See Exhibit 1, ¶ 25. As

 FRIEDMAN did not exercise authority or control over the employee payroll

 deductions, he is not an ERISA fiduciary.

        FRIEDMAN Did Not Breach a Fiduciary Duty Under ERISA

       In her Trial Brief, Plaintiff argues that FRIEDMAN breached his duty while

 acting in a fiduciary capacity because be failed to ensure that plan assets were used

 solely for their intended purpose and by using them for general expenses, including

 employee payroll. (Doc. No. 49 at 17).

       FCMG simply did not have the funds to pay the premiums for the United

 Healthcare plan because FCHS, FCMG, and FCID, whose Chapter 11 bankruptcy

 cases were jointly administered for procedural purposes, were emerging from

 bankruptcy in April 2022 and were required to make court-ordered bankruptcy

 payments. See Exhibit 1, ¶¶ 15, 16.

       More importantly, Plaintiff cannot establish that any of the Defendants, and

 particularly FRIEDMAN, was acting as a fiduciary – that is, performing a fiduciary

 function – when taking the action being complained of. See Pegram, 530 U.S. at

 226. Plaintiff contends that FRIEDMAN used the plan assets (the employee payroll

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 deductions) for general expenses including employee payroll. As the Tenth Circuit

 recognized in In re Luna, 406 F.3d 1192 (10th Cir. 2005), Defendants’ business

 decisions with regard to funds in the general operating account must not be confused

 with fiduciary actions. See id. at 1207.

       In other words, Defendants’ decision to pay expenses of the business,

 including employees’ payroll, with their limited funds does not amount to a breach

 of fiduciary duty. It does not constitute the management or administration of the

 plan but, rather, a business decision to try to keep the business afloat. It is

 undisputed that the corporate Defendants had been having serious, ongoing financial

 issues dating back to when they exited bankruptcy. Some employees were not able

 to be paid the entirety of their earned wages and there simply were not funds

 available to pay the health insurance premiums for either Florida Blue or

 UnitedHealthcare. Finally, once Florida Blue and UnitedHealthcare canceled their

 policies, there was no longer any plan which Defendants could manage or

 administer.

               Plaintiff’s Count II for Violation of COBRA Notice

       Plaintiff states that she went on medical leave on April 9, 2022, and that her

 employment was terminated in September 2022. She characterizes her medical

 leave in April 2022 as a qualifying even and states that Defendants failed to provide

 her with COBRA notice at any point in time.

       Plaintiff concedes that the United Healthcare plan was canceled back to April

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 1, 2022. In fact, the insurance premium was never paid and the policy lapsed as if

 it had never existed.

       “COBRA requires an employer to provide the option of continued coverage to

 a ‘qualified beneficiary who would lose coverage under the plan as a result of a

 qualifying event.’” Kobold v. Aetna U.S. Healthcare, Inc., 258 F.Supp.2d 1317, 1324

 (M.D. Fla. 2003) (citing 29 U.S.C. § 1161). “With respect to a qualifying event, the

 term ‘qualified beneficiary’ includes a ‘covered employee.’” Kobold, 258 F.Supp.2d

 at 1324 (citing 29 U.S.C. § 1167 (3)(B)). “Significantly, however ‘‘covered employee’

 means an individual who is (or was) provided coverage under a group health plan.’”

 Kobold, 258 F.Supp.2d at 1324 (citing 29 U.S.C. § 1167(2)) (emphasis in original).

 Where a plaintiff was never covered under the plan, she is not a covered employee

 and is, therefore, not a qualified beneficiary entitled to continued medical coverage.

 See id. See also Walker v. Doctors Hospital of Hyde Park, 110 F.Supp.2d 704, 715

 (N.D. Ill. 2000) (“However, an employee who is never covered under the employer’s

 healthcare plan is not a ‘covered employee’ under COBRA, and, therefore, is not

 entitled to such notification”).

       Here, Plaintiff was never a covered employee because the United Healthcare

 plan was terminated retroactively to its effective date of April 1, 2022. Continuance

 coverage and COBRA notice is dependent on the existence of a plan. Where that

 plan was terminated such that it was never in effect, Plaintiff was never a covered

 employee under the plan. Accordingly, she was not entitled to continuation coverage

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 or to receive COBRA notice.

                                  CONCLUSION

       For the foregoing reasons, Defendants respectfully request that the Court enter

 judgment in favor of FRIEDMAN, FCHS, FCMG, and EMERGE on Counts I and II

 of Plaintiff’s Complaint, and grant such other and further relief as this Court deems

 just and proper.

 Dated: June 10, 2024                   Respectfully Submitted,


                                        /s/ Allan P. Whitehead
                                        Allan P. Whitehead
                                        Florida Bar No. 870927




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                          CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on June 10, 2024, I electronically filed the foregoing
 document with the Clerk of the Court using CM/ECF. The foregoing document is
 being served this day on all counsel of record via transmission of Notices of
 Electronic Filing generated by CM/ECF.


                                        /s/ Allan P. Whitehead
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